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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
              v.                            :       Case No. 22-mj-22
                                            :
ILYA LICHTENSTEIN, and                      :
                                            :
HEATHER MORGAN,                             :
                                            :
              Defendants.                   :

                   UNOPPOSED MOTION TO EXCLUDE TIME
             UNDER SPEEDY TRIAL ACT AS TO DEFENDANT MORGAN

       The United States of America, by and through the United States Attorney for the District

of Columbia, respectfully moves this Court to exclude time under the Speedy Trial Act pursuant

to 18 U.S.C. § 3161(h)(7)(A) as to defendant Heather Morgan from February 25, 2022 until the

date of Morgan’s Initial Appearance before this Court, currently scheduled for February 28, 2022.

In support whereof, the government states as follows:

       1.     The defendants were charged by criminal complaint on February 7, 2022 on charges

of Money Laundering Conspiracy, in violation of 18 U.S.C. § 1956(h), and Conspiracy To Defraud

the United States, in violation of 18 U.S.C. § 371. The defendants were arrested on February 8,

2022 and presented for an Initial Appearance and Detention Hearing before a Magistrate Judge in

the Southern District of New York on the same date. Further on February 8, 2022, the government

appealed the release order issued by the Magistrate Judge in the Southern District of New York

pursuant to 18 U.S.C. § 3145(a), and a stay was issued by Chief Judge Howell in this District.

Further detention proceedings were held before Chief Judge Howell on February 14, 2022, upon

the conclusion of which Chief Judge Howell affirmed in part and overruled in part the decision of

the Magistrate Judge in the Southern District of New York.
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       2.       A Preliminary Hearing was initially scheduled in the Southern District of New York

on February 22, 2022, and subsequently continued by the parties’ agreement until March 24, 2022.

       3.       On February 17, 2022, the government filed an unopposed motion for status hearing

and to exclude time under the Speedy Trial Act. See ECF No. 31. In the interim, an Initial

Appearance was scheduled for both defendants in this Court, to be held on February 24, 2022. On

February 23, 2022, the Court issued a Minute Order denying the government’s motion as moot

and stating that the subject matter of the motion could be addressed at the pending Initial

Appearance.

       4.       On February 24, 2022, an Initial Appearance was held before this Court for

defendant Lichtenstein. Due to an inadvertent error regarding defendant Morgan’s bond status,

she was not available on February 24, 2022, and the Initial Appearance in her case was rescheduled

for February 28, 2022.

       5.       Because defendant Morgan was not present at the February 24, 2022 hearing, the

government is moving separately in her case to exclude time under the Speedy Trial Act.

Specifically, the government moves, pursuant to 18 U.S.C. § 3161(h)(7)(A), to exclude time under

the Speedy Trial Act in the interests of justice from February 25, 2022 until February 28, 2022.

This additional period is necessary to allow the parties to engage in discussions of possible

resolutions short of trial. Therefore, the government respectfully submits that the ends of justice

served by such exclusion would outweigh the best interest of the public and the defendant in a

speedy trial.

       6.       Counsel for the government has conferred with defense counsel for defendant

Morgan regarding this motion. Defendant Morgan does not oppose the motion and waives her

rights under the Speedy Trial Act.



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       WHEREFORE, the government respectfully moves to that the time from February 25,

2022 until February 28, 2022 be excluded from computation under the Speedy Trial Act.



                                           Respectfully submitted,

                                           MATTHEW M. GRAVES
                                           UNITED STATES ATTORNEY
                                           D.C. Bar No. 481052


                                   BY:     /s/ Christopher B. Brown
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